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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re                                                     Chapter 11

Achaogen, Inc.                                            Case No. 19-10844 (BLS)

                                     Debtor.1             Re: D.I. 123


                                        NOTICE OF REVISED BID DEADLINE

        PLEASE TAKE NOTICE that on May 1, 2019, the Bankruptcy Court entered the
Order Pursuant to Sections 105, 363, 364, 365 and 541 of the Bankruptcy Code, Bankruptcy
Rules 2002, 6004, 6006 and 9007 and Del. Bankr. L.R. 2002-1 and 6004-1 (A) Approving
Bidding Procedures for the Sale of Substantially All Assets of Debtor; (B) Approving Procedures
for the Assumption and Assignment, Assignment or Rejection of Designated Executory Contracts
and Unexpired Leases; (C) Scheduling the Auction and Sale Hearing; (D) Approving Forms and
Manner of Notice of Respective Dates, Times and Places in Connection Therewith; and (E)
Granting Related Relief (D.I. 123) (the “Bidding Procedures Order”). The Bidding Procedures
Order approved, among other things, the implementation of the Debtor’s Bidding Procedures2 in
connection with the disposition of all or substantially all of the Purchased Assets.

       PLEASE TAKE FURTHER NOTICE that the Bidding Procedures Order established
the Bid Deadline as May 29, 2019 at 4:00 p.m. (prevailing Eastern Time).

       PLEASE TAKE FURTHER NOTICE that the Debtor, in accordance with the Bidding
Procedures Order and in consultation with the DIP Lender and Committee, has extended the Bid
Deadline to May 30, 2019 at 4:00 p.m. (prevailing Eastern Time).3

        PLEASE TAKE FURTHER NOTICE that except as set forth in this Notice, the terms
and conditions of the Bidding Procedures and Bidding Procedures Order remain in full force and
effect and shall control in the event of any conflict. The Debtor encourages you and other parties
in interest to review such documents in their entirety and consult an attorney if you have
questions or want advice.




1
 The last four digits of Debtor’s federal tax identification number are (3693). The Debtor’s mailing
address for purposes of this chapter 11 case is 1 Tower Place, Suite 400, South San Francisco, CA 94080.
2
 All terms not otherwise defined herein shall have the meanings ascribed to them in the Bidding
Procedures Order.
3
  The Bidding Procedures Order permits the Debtor, in consultation with the DIP Lender and Committee,
to modify the Bidding Procedures under certain circumstances set forth therein.


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